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DEC 13 2023
To: The Honorable Judge James R. Cho
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

From: Joshua Olatunde
Defendant Pro Se

510 Crimson View Place
Las Vegas, NV 89144

Date: Tuesday, December 5, 2023

RE: Counsel Update in Moon v. Archway Logistics, LLC et al., Case No. 1:23-cv-01631
LDH-JRC

Your Honor:

This letter provides an update on efforts to seek counsel as advised on November 30, 2023, in
the matter of Moon v. Archway Logistics, LLC. |, Joshua Olatunde would like to Withdraw all
Motions as Defendant Pro Se. | am currently seeking counsel to represent this business matter
with the New York State Bar Association.

In the matter of Moon v. Archway Logistics, LLC. and Joshua Olatunde, individually, | request to
retain defense of myself Pro Se, and that prior Motions to Dismiss with prejudice be
considered.

Thank you for your time and attention. | welcome any questions the Court may have
regarding these matters.

Respectfully submitted,

Li. GE—

/\oshua Olatunde, Defendant Pro Se

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